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Fn.sn ev D.O.

IN THE UNITED STATES DISTRlCT COURIB Au\$ 29 PH k= 23
FOR THE WESTERN DISTRICT oF TENNESSE

WESTERN DIVISION M U_S, lyng mm
W:D ‘CI:"' i`i‘:!, iiii§‘,§°iii$

ARTHUR SMITH, et al.,

 

Plaintiffs, Caso No.: 05-2447 D
v.
FEDEX CORPORATION, et ai.,
Defendant.
ORDER

 

Before the court is Defendant FedEx Corporation’ s Motion to Dismiss (Doc. # 7). Based on

the Stipulation of Voluntary Disrnissal (Docket # 14), the motion is dismissed as moot

IT IS SO ORDERED this 32 day of @¢ FM£; , 2005.

CE BO DONA D
TED STATES DISTRICT JUDGE

 
 
       

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Notice of Distribution

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Honorable Bernice Donald
US DISTRICT COURT

